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                               UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                       MDL No. 2741
   LIABILITY LITIGATION
                                                 Case No. 16-md-02741-VC


   This document relates to:                     ORDER SETTING HEARINGS ON
                                                 CERTAIN WAVE 6 DAUBERT
   Bulone v. Monsanto Co., Case No. 20-cv-       MOTIONS
   03719-VC
                                                 Re: Dkt. Nos. 17598, 17599, 17603, 17615,
   Caccia et al. v. Monsanto Co., Case No.       18022
   20-cv-01915-VC

   Turnoff v. Monsanto Co., Case No. 19-
   cv-03837-VC



       The Court will hold in-person Daubert hearings on Monsanto’s motions to exclude Dr.

Zhang and Dr. DeGrandchamp at 10 a.m. on April 24, 2024, and on Monsanto’s motion to

exclude Dr. Berkman and Dr. Braunstein at 10 a.m. on May 3, 2024.


       IT IS SO ORDERED.

Dated: April 9, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
